Case:21-01872-swd Doc #:14 Filed: 09/21/2021 Page 1of 14

B27 (Official Ferm 27) (12/13)

UNITED STATES BANKRUPTCY COURT

Western District of Michigan

In re Steven L Blyveis :
Debtor Case No. 21-01 872-swd
Chapter 7

' REAFFIRMATION AGREEMENT COVER SHEET

This form must be completed in ils entirety and filed, with the reaffirmation agreement attached, within the
time set under Rule 4008. It may be filed by any party to the reaffirmation agreement.

1. Creditor’s Name: Transwest Credit Union

2. Amount of the debt subject to this reaffirmation agreement:

$10,810.50 on the date of bankruptcy $10,810.50 to be paid under reaffirmation agreement

3, Annual percentage rate of interest: 4.74 % prior to bankruptcy

4.74 _% under reaffirmation agreement ( V_ Fixed Rate Adjustable Rate)
4, Repayment terms (if fixed rate): $ 267.00 per month for 41 months
5. Collateral, ifany, securing the debt: Current market value: $12,125.00

Description: 2013 Subaru Crosstrek

6 Does the creditor assert that the debt is nondischargeable? ___Yes y No

(If yes, attach a declaration setting forth the nature of the debt and basis for the contention that the debt is
nondischargeable.)

Debtor’s Schedule I and J Entries Debtor's Income and Expenses
as Stated on Reaffirmation Agreement

at .
7A. Total monthly income from $ AS a* 7B. Monthly income fromall = $ ANAS,

Schedule [, line 12 sources after payroll deductions

(3 oS
8A. Total monthly expenses $ Q x 0) . 8B. Monthly expenses $ HR 3BO.

from Schedule J, line 22

9A. Total monthly payments on $ Z 9B. Total monthly payments on $ Y

reaffirmed debts not listed on reaffirmed debts not included in
Schedule J monthly expenses
| < Al
10B. Net monthly income $ 13 We

(Subtract sum of lines 8B ant-9B from
line 7B. If total is less than zero, put the
number in brackets.)
Case:21-01872-swd Doc #:14 Filed: 09/21/2021 Page 2 of 14

B2? (Official Form 27) (12/13) Page 2

i]. Explain with specificity any difference between the income amounts (7A and 7B):

nie
12. Explain with specificity any difference between the expense amounts (8A and 8B):
vv lo

IF line 11 orl2 is completed, the undersigned debtor, and joint debtor if applicable, certifies that any

explanation contained on JY Ty i nd correct.

 

 

Signature of ered Th, required iff 6 en of Joint Debtor (if applicable, and only
line L1 or {2 is completed) required if line 1] or 12 is completed)
Other Information

w check this box if the total on line 10B is less than zero. If that number is less than zero, a presumption
of undue hardship arises (unless the creditor is a credit union) and you must explain with specificity the
sources of funds available to the Debtor to make the monthly payments on the reaffirmed debt:

This 1s He Debtor's vehice + he vill ‘do
Rviv th ney Veasondoly, VALSS OU aan mete tan
g

Was debtorvepresented by counsel during the course of negotiating this reaffirmation agreement?
Yes No

Payments,

If debtor was represented by counse! during the course of negotiating this reaffirmation agreement, has
counsel exgtuted a certification (affidavit or declaration) in support of the reaffirmation agreement?
Y_Yes No

 

FILER’S CERTIFICATION

I hereby certify that the attached agreement is a true and correct copy of the reaffirmation agreement
between the parties identified on this Reaffirmation Agreement Cover Sheet.

cE Sith

Signature

Brian Smith Catlection Manager

 

Print/Type Name & Signer’s Relation to Case
Case:21-01872-swd Doc #:14 Filed: 09/21/2021 Page 3 of 14

Farm 280A (12/15)

 

Cheek one.
resumption of Undue Hardship
No Presumption of Undue Hardship
See Debtor's Statement in Support of Reaffirmation,
Part If below, ta determine which box to check.

 

 

UNITED STATES BANKRUPTCY COURT

Western District of Michigan

In re Steven L Biyveis ' Case No. 21-01872-swd
Debtor

Chapter 7

REAFFIRMATION DOCUMENTS

Name of Creditor: TransWest Credit Union

Check this box if Creditor is a Credit Union

PART I. REAFFIRMATION AGREEMENT

Reaffirming a debt is a serious financial decision. Before entering into this Reaffirmation

Agreement, you must review the important disclosures, instructions, and definitions found in Part V of
this form.

A. Brief description of the original agreement being reaffirmed:Balance owing on Vehicle loan

For exantple, auto loan

B. AMOUNT REAFFIRMED. $ 10,810.50

The Amount Reaffirmed is the entire amount that you are agreeing to pay. This may include
unpaid principal, interest, and fees and costs (if any) arising on or before 08/10/2021
which is the date of the Disclosure Statement portion of this form (Part V).

 

See the definition of “Amount Reaffirmed” in Part V, Section C below.
C. The ANNUAL PERCENTAGE RATE applicable to the Amount Reaffirmed is 4.7400 %.
see definition of “Annual Percentage Rate” in Part V, Section C below.

This is a (cheek one) Fixed rate [_] Variable rate

Ifthe loan has a variable rate, the future interest rate may increase or decrease from the Annual Percentage Rate
disclosed here.
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Form 400A, Reaffirmation Documents

D. Reaffirmation Agreement Repayment Terms (check and complete one):

§ 267.00 permonthfor 41 months starting on__08/25/2021

Describe repayment terms, including whether fulure payment amount(s) may be different from
the initial payment amount.

E. Describe the collateral, if any, securing the debt:

Description: 2013 Subaru Crosstrek
Current Market Value $ 12,125.00

 

F, Did the debt that is being reaffirmed arise from the purchase of the collateral described above?
( | Yes. What was the purchase price for the collateral? $

No. What was the amount of the original loan? $ 16,677.39

G. Specify the changes made by this Reaffirmation Agreement to the most recent credit terms on the reaffirmed
debt and any related agreement:

Terms as of the Terms After

Date of Bankruptcy Reaffirmation
Balance due (including
fees and costs) $ 10,810.50 $ 10,810.50
Annual Percentage Rate 4.7400 % 4.7400 %
Monthly Payment $ 467.00 $ 267.00

{| Check this box if the creditor is agreeing to provide you with additional future credit in connection with
this Reaffirmation Agreement. Describe the credit limit, the Annual Percentage Rate that applies to
future credit and any other terms on future purchases and advances using such credit:

PARTIL DEBTOR’S STATEMENT IN SUPPORT OF REAFFIRMATION AGREEMENT
A. Were you represented by an attorney during the course of negotiating this agreement?
Check one. Yes [| No

B. Is the creditor a credil union?

Check one. [V |ves [ | No
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Form 249A, Reaftizmation Documents Page 3
C. If your answer to EITHER question A. or B, above is “No,” complete 1. and 2. below.

1. Your present monthly income and expenses are:

a. Monthly income from all sources after payroll deductions
(take-home pay plus any other income) $

b. Monthly expenses (including all reaffirmed debts except

this one) So
c. Amount available to pay this reaffirmed debt (subtract b. from a.) $
d. Amount of monthly payment required for this reaffirmed debt 3

 

[f the monthly payment on this reaffirmed debt (line a.) is greater than the amount you have available to
pay this reaffirmed debt (line e.), you must check the box at the top of page one that Says “Presumption
of Undue Hardship.” Otherwise, you must check the box at the top of page one that Says "No
Presumption of Undue Hardship.”

2. You believe that this reaffirmation agreement will not impose an undue hardship on you or your
dependents because:

Check one of the two statements below, if applicable:

[| You can afford to make the payments on the reaffirmed debt because your monthly income is
greater than your monthly expenses even after you include in your expenses the monthly
payments on all debts you are reaffirming, including this one.

[ | You can afford to make the payments on the reaffirmed debt even though your monthly income

is less than your monthly expenses after you include in your expenses the monthly payments on
all debts you are reaffirming, including this one, because:

Use an additional page if needed for a full explanation.

D. If your answers to BOTH questions A. and B. above were “Yes,” check the following

statement, }f applicable:
f You believe this Reaffirmation Agreement is in your financial interest and you can afford to
make the payments on the reaffirmed debt.

Also, check the box at the top of page one that says “No Presumption of Undue Hardship.”
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Form 24904, Reaflirmation Documents

PART HE CERTIFICATION BY DEBTOR(S) AND SIGNATURES OF PARTIES

Page 4

{ hereby certify that:
(1) | agree to reaftirm the debt described above.

(2) Before signing this Reaftirmation Agreement, | read the terms disclosed in this Reaffirmation
Agreement (Part 1) and the Disclosure Statement, Instructions and Definitions included in Part V
below;

(3) The Debtor’s Statement in Support of Reaffirmation Agreement (Part II above) is true and
complete;

(4) [am entering into this agreement voluntarily and am fully informed of my rights and
responsibilities; and

(5) I have received a copy of this completed and signed Reaffirmation Documents form.

SIGNATURE(S) (If this is a joint Reaffirmation Agreement, both debtors must sign.):
Date id 2-202\ Signaturs. al pach

Defor
Date Signature

 

Joint Debtor, ifany

Reaffirmation Agreement Terms Accepted by Creditor:

 

 

 

Creditor TransWest Credit Union PO Box 65218 SLC UT 84165
Print Nante Address
Brian Smith Ae Sd Cc q t uf ZI
Print Name of Representative — Signature” Y Date

PART IV. CERTIFICATION BY DEBTOR’S ATTORNEY (IF ANY)

To be filed only if the attorney represented the debtor during the course of negotiating this agreement.

| hereby certify that: (1) this agreement represents a fully informed and voluntary agreement by the debtor; (2)
this agreement does not impose an undue hardship on the debtor or any dependent of the debtor; and (3) I have

fully advised the debtor of the legal effect and consequences of this agreement and any default under this
agreement.

[Ja presumption of undue hardship has been established with respect to this agreement. In my opinion,
however, the debtor is able to make the required payment.

Check box, if the presumption of undue hardship box is checked on page | and the creditor is not a Credit
Union.

Date on | 8) |Alsignature of Debtor’s Attorney

Print Name of Debtor’s Attorney Kp Vex) L. f Ya 4 mar

 
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Fora: 241904, Reaffirmation Documents

PART V. DISCLOSURE STATEMENT AND INSTRUCTIONS TO DEBTOR(S)

Before agreeing to reaffirm a debt, review the terms disclosed in the Reaffirmation Agreement (Part I
above) and these additional important disclosures and instructions.

Reaffirming a debt is a serious financial decision. The law requires you to take certain steps to make sure the
decision is in your best interest. If these steps, which are detailed in the Instructions provided in Part V, Section
B below, are not completed, the Reaffirmation Agreement is not effective, even though you have signed it.

A. DISCLOSURE STATEMENT

1, What are your obligations if you reaffirm a debt? A reaffirmed debt remains your personal legal
obligation to pay. Your reaffirmed debt is not discharged in your bankruptcy case. That means that if
you default on your reaffirmed debt after your bankruptcy case is over, your creditor may be able to take

agreement, that agreement or applicable law may permit the creditor to change the terms of that
agreement in the future under certain conditions.

Nw

Are you required to enter into a reaffirmation agreement by any law? No, you are not required to

reaffirm a debt by any law. Only agree to reaffirm a debt if it is in your best interest. Be sure you can
afford the payments that you agree to make.

3. What if your creditor has a security interest or lien? Your bankruptcy discharge does not eliminate
any lien on your property. A ‘‘lien’’ is often referred to as a security interest, deed of trust, mortgage, or
security deed. The property subject to a lien is often referred to as collateral. Even if you do not
reaffirm and your personal liability on the debt is discharged, your creditor may still have a right under
the lien to take the collateral if you do not pay or default on the debt. [F the collateral! is personal
property that is exempt or that the trustee has abandoned, you may be able to redeem the item rather
than reaffirm the debt. To redeem, you make a Single payment to the creditor equal to the current value
of the collateral, as the parties agree or the court determines.

4. How soon do you need to enter into and file a reaffirmation agreement? If you decide to enter into
a reaffirmation agreement, you must do so before you receive your discharge. After you have entered
into a reaffirmation agreement and all parts of this form that require a signature have been signed, either
you or the creditor should file it as soon as possible. The signed agreement must be filed with the court
no later than 60 days after the first date set for the meeting of creditors, so that the court will have time
to schedule a hearing to approve the agreement if approval is required. However, the court may extend
the time for filing, even after the 60-day period has ended.

uy

Can you cancel the agreement? You may rescind (cancel) your Reaffirmation Agreement at any time
before the bankruptcy court enters your discharge, or during the 60-day period that begins on the date
your Reaffirmation Agreement is filed with the court, whichever occurs later. To rescind (cancel) your
Reaffirmation Agreement, you must notify the creditor that your Reaffirmation Agreement is rescinded
(or canceled). Remember that you can rescind the agreement, even if the court approves it, as long as
you rescind within the time allowed,
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Form 2400A, Reaffirmation Documents Page 6

6. When will this Reaffirmation Agreement be effective?

a. If you were represented by an attorney during the negotiation of your Reaffirmation
Agreement and

i. if the creditor is not a Credit Union, your Reaffirmation Agreement becomes effective when
it is filed with the court unless the reaffirmation is presumed to be an undue hardship. Ifthe
Reaffirmation Agreement is presumed to be an undue hardship, the court must review it and may
set a hearing to determine whether you have rebutted the presumption of undue hardship.

ii. if the creditor is a Credit Union, your Reaffirmation Agreement becomes effective when it
is filed with the court.

b. Ifyou were nof represented by an attorney during the negotiation of your Reaffirmation
Agreement, the Reaffirmation Agreement will not be effective unless the court approves it. To have the
court approve your agreement, you must file a motion. See Instruction 5, below. The court will notify
you and the creditor of the hearing on your Reaffirmation Agreement. You must attend this hearing, at
which time the judge will review your Reaffirmation Agreement. If the judge decides that the
Reaffirmation Agreement is in your best interest, the agreement will be approved and will become
effective. However, if your Reaffirmation Agreement is for a consumer debt secured by a mortgage,
deed of trust, security deed, or other lien on your real property, like your home, you do not need to file a
motion or get court approval of your Reaffirmation Agreement.

7. What if you have questions about what a creditor can do? If you have questions about reaffirming a
debt or what the law requires, consult with the attorney who helped you negotiate this agreement. If you
do not have an attorney helping you, you may ask the judge to explain the effect of this agreement to
you at the hearing to approve the Reaffirmation Agreement. When this disclosure refers to what a
creditor “may” do, it is not giving any creditor permission to do anything. The word “may” is used to
tell you what might occur if the law permits the creditor to take the action.

B. INSTRUCTIONS

1. Review these Disclosures and carefully consider your decision to reaffirm. If you want to reaffirm,
review and complete the information contained in the Reaffirmation Agreement (Part I above). If your
case is a joint case, both spouses must sign the agreement if both are reaffirming the debt.

2. Complete the Debtor’s Statement in Support of Reaffirmation Agreement (Part [I above). Be sure that
you can afford to make the payments that you are agreeing to make and that you have received a copy of
the Disclosure Statement and a completed and signed Reaffirmation Agreement.

3. If you were represented by an attorney during the negotiation of your Reaffirmation Agreement, your
attorney must sign and date the Certification By Debtor’s Attorney (Part IV above).

4. You or your creditor must file with the court the original of this Reaffirmation Documents packet and a
completed Reaffirmation Agreement Cover Sheet (Official Bankruptcy Form 427),

5. Ifyou are not represented by an atlorney, you must also complete and file with the court a separate
document entitled “Motion for Court Approval of Reaffirmation Agreement” unless your Reaffirmation
Agreement is for a consumer debt secured by a lien on yaur real property, such as your home. You can
use Form 2400B to do this.
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Fann 2400A, Reaffirmation Documents

Cc.

Nm

La

Page 7
DEFINITIONS

“Amount Reaffirmed” means the total amount of debt that you are agreeing to pay (reaffirm) by
entering into this agreement. The total amount of debt includes any unpaid fees and costs that you are
agreeing to pay that arose on or before the date of disclosure, which is the date specified in the
Reaffirmation Agreement (Part I, Section B above). Your credit agreement may obligate you to pay
additional amounts that arise after the date of this disclosure. You should consult your credit agreement

to determine whether you are obligated to pay additional amounts that may arise after the date of this
disclosure.

“Annual Percentage Rate” means the interest rate on a loan expressed under the rules required by
federal law. The annual percentage rate (as opposed to the “stated interest rate”) tells you the full cost
of your credit including many of the creditor's fees and charges. You will find the annual percentage
rate for your original agreement on the disclosure statement that was given to you when the loan papers

were signed or on the monthly statements sent to you for an open end credit account such as a credit
card,

“Credit Union” means a financial institution as defined in 12 U.S.C. § 461(b)(1)(A)(iv). It is owned

and controlled by and provides financial services to its members and typically uses words like “Credit
Union” or initials like “C.U." or “F.C.U. in its name.
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LOAN APPLICATION
How Do

T Apply ? Return the application to TransW

Complete the following sections and sign section 13.

Filed: 09/21/2021 Page 10 of 14

Trans
vez West

   

j Peredit. Union |

] married Applicants may apply for a separate account, Check the appropriate box to indicate Individual Credit or Joint

est Credit Union

 

©

{ndividual Account - Complete Applicant section. Complete Co-Applicant,
property state (AZ, CA, ID, LA, NM, NV, TX, WA, W1), or 2) if your spouse
to indicate whom the information is about.

 

wii

Spouse, Guarantor section: 1) about your spouse if you live ina com

} munity
| use the account, or 3) if there is a guarantor on the account. Please

check box

 

 

 

 

 

 

 

 

 

 

 

 

 

O Joint Account - Provide information about beth of you by completing Applicant and Other section.
Amount Requested $ 16677.39 Purpose of Loan: Purchase Used Vehicle
Collateral Offered: white 2013 Subaru Crosstrek
Method of Loan Repayment:

CI Payroll
Cash
Automatic
2 Applicant Information Co-Applicant Information 3

NAME (First Middle Last) NAME (First Middle Last)

Steven L. Blyveis

ACCOUNT NUMBER SOCIAL mone NUMBER ACCOUNT NUMBER SOCIAL SECURITY NUMBER

HOA NUMBER WORK PHONE NUMBER HOME PHONE NUMBER WORK PHONE NUMBER

385 485 9141

DRIVER'S LICENSE NUMBER DATEOF BIRTH DRIVER'S LICENSE NUMBER DATE OF BIRTH

176921437 4-9-1960

CURRENT ADDRESS (Street - City, ST.and Zip) CURRENT ADDRESS (Street - City, ST.and Zip)

1320 W 6690 S Unit C101

Murray, UT 84123-6667

Cl Ow: C} Rent C)emeuinel] Other At Address Since: 9-11-2018 [0 own OF Ren (53 Other At Address Since:

PREVIOUS ADDRESS (Street - City, ST.and Zip) PREVIOUS ADDRESS (Street - City, ST and Zip)

OD own C) Rent DBR ansel] Other At Address From: To: {2 Own C1 Rent (1) Siascme C] Other At Address From: Ta:

COMPLETE FOR JOINT CREDIT, SECURED CREDIT. OR IF YOU LIVE IN ACOMMUNTTY COMPLETE FOR JOINT CREDIT. SECURED CREDIT, OR IF YOU LIVE IN A COMMUNITY

 

CJ

Pp sarics W=Widewed, S=Sepenied l=Single, U=Unmaried, D=Divorced, Y=Unksown

O

M=Married, W*Widawed, $=Seperated, Single, UsUnmarried, Dadi vorced, Y¥=Unknown

 

4 Applicant EMPLOYMENT

INFORMATION Co-Applicant 5

 

NAME AND ADDRESS OF EMPLOYER
Williamson-Godwin Truck

NAME AND ADDRESS OF EMPLOYER

 

 

 

TITLE/POSITION SUPERVISOR'S NAME TITLE/POSITION SUPERVISOR'S NAME
Sales
| STARTDATE Rousse TYPE OF BUSINESS STARTDATE HOURS/WEEK TYPE OF BUSINESS

 

 

PREVIOUS EMPLOYER - NAME AND ADDRESS
Watson Suspension
725 E University Dr

PREVIOUS EMPLOYER - NAME AND ADDRESS

 

 

 

RELATION: Father
14135 Beadle Laka RD

Battle Creek, MI 49044

McKinney
STARTINGDATE 4-1-2010 ENDING DATE: 1-15-2012 STARTING DATE: ENDING DATE:
6 REFERENCES
NAME AND ADDRESS OF REFERENCE PHONE: (269}963-2659 NAME AND ADDRESS OF REFERENCE = PHONE: —(734)863-4276
Ron Blyveis Steve Chronis

RELATION: Friend
2525 Alex Or

Ann Arbor, MI 48103

 

NAME AND ADDRESS OF REFERENCE PHONE:

RELATION:

 

NAME AND ADDRESS OF REFERENCE = PHONE:

RELATION:

 

 

CONTINUED ON NEXT PAGE

03/26/2015

 

 
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7 Applicant INCOME INFORMATION Co-Applicant §
Alimony, child Support, or separate maintenance income heed not be revealed if you da not choose to have it considered.

EMPLOYMENT INCOME OTHER INCOME EMPLOYMENT INCOME OTHER INCOME

$5005.52 Per: MONTH {5 Per: MONTH T'$ Per: MONTH |$ Per: MONTH

$4004.42 s 50083 [Source s Ng Gross | Source:

g ASSET INFORMATION

 
   

 

LIST ALL ITEMS AND PROPERTY THATYOU OWN MARKET VALUE PLEDGED ON ANOTHER LO4N7
50.00 Yes
$0.00 Yes
r Shares 50.00 Yes
Free $42.95

Free $298.51
ular Shares 0.00

DEBT INFORMATION
NAME AND ADDRESS OF ALL CREDITORS Account Present

UNIVERSITY GR 9499.

oF) Gt te) tet wt wt wm] ow

attachment for additional debt***
Ratio:
TI
APPLICANT CO-APPLICANT

Yes No (x DO YOU HAVEANY OUTSTANDING JUDGEMENTS AGAINST YOU? Yes No
Yes No HAVE YOU EVER FILED FOR BANKRUPTCY O28 HAD A DEST ADJUSTMENT CONFIRMED UNDER CHAPTER 137 Yes No

Na HAVE YOU HAD PROPERTY FORECLOSED UPON OR REPOSSESSED IN THE LAST 7 YEARS 7

No ARE YOU INVOLVED IN ANY LAWSUTTIS 7

ARE YOU OTHER THAN AUS. CITIZEN OR PERMANENT RESIDENT ALIEN?
IS YOUR INCOME LIKELY TO DECLINE IN THE NEXT TWO YEARS ?
YOU HAVE LOANS UNDER NAMES OR SOCIAL SECURITY NUMBERS OTHER THAN THOSE LISTED ON THE APPLICATION?

ARE YOU A CO-SIGNER, CO-MAKER, OR GUARANTOR ON ANY OTHER LOANS NOT LISTED ABOVE?

    

SIGNATURES
Ihave uo other debts, other than those listed above. | certify that all information is (rue and complete to the best of my knowledge and is given for the
purpose of obtaining this loan. The ioformation given hereln, while confidential, is subject ta verification. It is agreed that this application shall be the
property of this eredit union, whether 9 not this lean is granted. No tonsideration has passed or will pass from me to my endorsers for their sigoatures.
aceeds of this loan to such creditors ay may be requested or required by the credit uniou, Receipt ofthe Equal
orize you to pull credit and to verify or re-verify any information contained in this

Hg x

 

  
   
 
 
 
 
  

 

 

 

 

 

 

 

 

 

 

 

CO-APPLICANTS SIGNATURE DATE
Signature § “T APPRO VED/DECLINED/PENDING:
Credit Line $ Was Outside Information Considered (Y)es((N)o:
Other $ Reasons for Action(s):

 

 

 

 

 

 

 

 

 

 

 

 

Ge tephin I,

x x

 

 

 

 

 

 

 

 

 

 

 

 

 

 
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PROMISSORY NOTE TRUTH IN LENDING STATEMENT AND SECURITY AGREEMENT

 

TRANSWEST CREDIT UNION [BORROWER (Ss) Steven I Blyvels
¥V, q sath eed Sor ay 15 |MEMBERNUMBER MEM foan# 159 deposit#
ols , DATE 41-13-2018 share #

redit Union the principal sum of $ 16677.39
% per annum.

 

 

  
  
 

PROMISE TO PAY: The undersigned agree to pay to the order of
This principal sum shall be repaid together with interest at the rate o

Interest on the unpaid principal balance shall be calculated at a daily
and interest shall be repayable as follows:

 raie which is 1/365th of the per annum interest rate. The principal

 

 

 

 

 

 

 

 

 

 

 

NUMBER OF PAYMENTS | AMOUNT OF PAYMENTS WHEN PAYMENTSARE DUE wy
a —4j 267.00 Monthly STARTING 12-25-2018
No 265.12 FINAL 11-25-2024 (e)
ANNUAL PERCENTAGE R¢ J AMOUNT FINANCED TOTAL OF PAYMENTS
THE COST OF YOUR CREDIT AS A THE COLLAR AMOUNT THE CREDIT WILL | THE AMOUNT OF CREDIT PROVIDED TO | THE AMOUNT YOU WILL HAVE PAID
YEARLYRATE COST ME YOU OR ON YOUR BEHALF WHEN YOU HAVE MADE ALL PAYMENTS AS
SCHEDULED
4.778 $ 2564.73 $ 16677 .39 $ 19222.42
Security: This agreement is secured by the following property: 2013 Subaru Crosstrek JF2GPAKC4D2868246 deposit #
* If this note has a Loan Deposit Agreement then the full balance of the Loan Deposit account is secured. share #

Physical Damage: I will be required to purchase physical damage insurance on certain collateral. | may obtain this insurance from anyone [ wang
that is acceptable to the credit union.

Late Charge & Prepayment: A late charge of five percent (5%) or fifteen dollars ($15.00), whichever is greater, will be charged on any
Payment not made within ten (10) days its due date. The finance charge shown above is the actual finance charge | will pay if ] make all my
payments exactly as scheduled. [If 1 make payments early, the actual finance charge will be less. Ef I pay late, the actual finance charge will be
more. I may prepay this loan in full or in part at any time without penalty. Since the finance charges are calculated each day and not in advance,
no refund for finance charge is due. Loans may not be paid ahead more than 90 days.

Required Deposit: The annual percentage rate does not take into account my required deposit.

Assumption: This loan is not assumable on the original terms.

Read this agreement carefully for any additional information about nonpayment, default, any required repayment in full before the scheduled date,
and prepayment refunds and penalties. (e means an estimate)

 

 

 

ITEMIZATION OF AMOUNT Loan proceeds paid to others on my behalf 16677 .39
Direct Proceeds 0.00
Payoff old loans 0.00
America First CU 1630839
NEW LOAN FEE — 20.00
= GAP (RESIDUAL) AUTO INSURANCE 349.00

« AMOUNT FINANCED (Total of Above Items) 46677.39

Credit Insurance: Credit Insurance is not required to obtain this loan.

Notice and Agreement Relating to Credit Agreement: The undersigned have entered into a credit agreement with Trans West Credit Union
(including the terms on the reverse side). The written agreement is a final expression of the agreement between the undersigned and the
credit union. This writen agreement may not be contradicted by evidence of any oral agreement or alleged oral agreement.

Receipt of Copy: I/We acknowledge receipt of a copy of this Agreement (including the terms on the reverse side) with all applicable sections

completed,
M, / bEowertuner

+
Borrower/Owner: Credit Union Witness: Emilio tan Key

Must be notarized if not witnessed by credil union employee:

  
  

Borrower/O

 

On the day of . 20____ personally appeared before me the signer(s) of this instrument and duly acknowledged to me
that she/he/they executed this instrument.

 

Notary Public
Page | of 2
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Lees

Corrected Title

ery

aay
SS

C7

Vehicio Type: Passenger Vehicle
VIN/HIN: JF2GPAKC4D2868246
Cylinders: 4

Year: 2013

ha’
a

Fual: G

LEU etpecepnadetafgeetpgef dag] AU faytostpeseateyefott gy
TRANSWEST CREDIT UNION

PO BOX 65218

SALT LAKE CITY UT 84165-0218

-

IEEE
apnea

dior i
facile a

IL

Owner Information:

STEVEN L BLYVEIS
6124 S CRYSTAL RIVER DR
‘MURRAY UT 84123-7639

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Title Number: UT004751756
Modal: XV CROSSTREK Body Styte: Utility

Odomater; 80710 Date Issued: 12/04/2018

 

 

 

   

 

 

 

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Aget|| Lienholder Information:

Bay| TRANSWEST CREDIT UNION

Fc) PO BOX 65218

& SALT LAKE CITY UT 84165-0218

Pos

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cn ODOMETER READING REELECTS THE ACTUAL MILEAGE

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CoN r

es Complete this section. Send the title and required fee to the Division of Motor Vehicles, Please check one bax.
a [__] Issue a tite tree of liens [] issue a title showing the following as the NEW LIEN HOLDER

 

 

   
 

 

 

 

 

 

 

 

LIEN RELEASE - Signature of lien holder {releasing interest)
x

   

Vehicle owner's signature requesting lien change

 

Title of signer

| New fien holder's name

  
  

 

Date

Address

  

 

 

Division of Motor Vehicles

UTAH STATE TAX COMMISSION
210 North 1950 West

Salt Lake City, Utah 84134

 

 

City

   
 

State ZIP Code

 

 

 

 

   
   
Case:21-01872-swd Doc #:14 Filed: 09/21/2021 Page 14 of 14

8/9/2021

J.D. POWER

   

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Vehicle Information

 

Vehicle: 2013 Subaru XV Crosstrek Wagon 4D
Limited Navigation/Moonraof AWD 2.0L
4 Auto [coe
Region: Pacific Northwest fame aaa
Period: August 9, 2021 Bag
VIN: JF2GPAKC40 2868246 am
Mileage: 116,000 =
Base MSRP: $26,495
Typically Equipped MSRP: $27,290

Weight: 0

J.D. POWER Used Cars/Trucks Values

Base Mileage Adj. Option Adj. © Adjusted Value

Monthly

Trade-In
Rough $10,150 -$200 N/A $9,950
Average $11,350 -$200 N/A $11,150
Clean $12,325 -$200 N/A $12,125
Clean Loan $11,125 -$200 N/A $10,925
Clean Retail $14,150 -$200 N/A $13,950
Selected Options Trade-In/Loan Retail
Navigation System w/body wibody
Aluminum/Alloy Wheels w/body wibody
Power Sunroof w/body wibody

 

4D. Power Used CarGiide agiumes no nespans til ty of liatility for ary eifers or srnug ons of any ret 3.ocs or addi ors mave by anyone on ihisrepot, 2071 1D Poser
